    Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 1 of 12 PageID 1



                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

    AMBER VANLORYNEN,

          Plaintiff,
    v.
                                                            CASE NO.:
    ALLIED INTERSTATE, LLC,

          Defendant.
                                                      /

                                                COMPLAINT

         1.      Unwanted “Robocalls” are the #1 consumer complaint in America today.

         2.      The people complaining about harassing robocalls is increasing at an alarming rate.

In 2015, 2,125,968 complained to the Federal Trade Commission (FTC) and Federal

Communications Commission (FCC), in 2016 this number was 3,401,614 2016 and in 2017 it was

4,501,967.1

         3.      Allied Interstate, LLC robocalled the Plaintiff 100 times.

         4.      Allied Interstate, LLC has a corporate policy to robocall people thousands of times.

         5.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991).              Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm




1
 It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 2 of 12 PageID 2



Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

years ago, robocall abuse continues to skyrocket.

       6.      Plaintiff, Amber Vanlorynen, alleges Defendant, Allied Interstate, LLC, robocalled

her more than 100 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 et seq. (“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq.

(“FDCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

(“FCCPA”), and Invasion of Privacy (“IOP”).

       7.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

(2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

Consumer Protection, Federal Trade Commission).

       8.      The TCPA was enacted to prevent companies like Allied Interstate, LLC from

invading American citizens’ privacy and prevent illegal robocalls.

       9.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

decided that "banning" such calls made without consent was "the only effective means of

protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).



                                                   2
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 3 of 12 PageID 3



       10.     According to findings by the FCC—the agency Congress vested with authority to

issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

wireless customers are charged for incoming calls whether they pay in advance or after the minutes

are used.

                                JURISDICTION AND VENUE

       11.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

       12.     Violations described in the Complaint occurred while Plaintiff was in Sarasota,

Florida.

                                      FACTUAL ALLEGATIONS


       13.     Plaintiff is a natural person and citizen of the State of FL, residing in Sarasota,

Florida.

       14.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §

1692(a)(3).

       15.     Plaintiff is an “alleged debtor.”

       16.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       17.     Defendant is a Limited Liability Company with its principal place of business in

Plymouth, Michigan, and conducts business in the State of Florida.

       18.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

U.S.C. § 1692(a)(6).
                                                   3
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 4 of 12 PageID 4



         19.   The debt that is the subject matter of this complaint is a “consumer debt” as defined

by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

         20.   Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(813) 203-6032 .

         21.   Plaintiff was the “called party” during each phone call subject to this lawsuit.

         22.   Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

         23.   Defendant did not have the “express consent” of the Defendant to call her cell

phone.

         24.   “Express consent” is narrowly construed by the Courts.

         25.   It is the Defendant’s burden to prove they had “express consent” per the TCPA to

call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

         26.   It is the Defendant’s burden to prove they had “express consent” per the TCPA to

call the Plaintiff on her cell phone using an ATDS for each account they were calling on.

         27.   Defendant was put on notice Plaintiff did not want the Defendant contacting her.

         28.   In or about March of 2018, Plaintiff started receiving calls from the Defendant.

Plaintiff told the Defendant that she was not working and would call back to make a payment when

she got a job. After receiving calls from the Defendant for approximately two weeks, Plaintiff,

again, asked the Defendant to stop calling her.

         29.   Defendant did not have the express consent of the Plaintiff to call her on the account

they called her on.



                                                  4
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 5 of 12 PageID 5



        30.    Plaintiff expressly revoked any express consent Defendant may have mistakenly

believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone

number by the use of an ATDS or a pre-recorded or artificial voice.

        31.    Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

        32.    Defendant made at least one call to (813) 203-6032 .

        33.    Defendant made at least one call to (813) 203-6032 using an ATDS.

        34.    Defendant made at least thirty (30) calls to (813) 203-6032 .

        35.    Defendant made at least thirty (30) calls to (813) 203-6032 using an ATDS.

        36.    Defendant made at least sixty-five (65) calls to (813) 203-6032 .

        37.    Defendant made at least sixty-five (65) calls to (813) 203-6032 using an ATDS.

        38.    Defendant made at least one hundred (100) calls to (813) 203-6032 .

        39.    Defendant made at least one hundred (100) calls to (813) 203-6032 using an

ATDS.

        40.    Each call the Defendant made to (813) 203-6032 in the last four years was made

using an ATDS.

        41.    Each call the Defendant made to the Plaintiff’s cell phone was done so without the

“express permission” of the Plaintiff.

        42.    Defendant has called other people’s cell phones without their express consent.

        43.    Each call the Defendant made to the Plaintiff was made using an ATDS, which has

the capacity to store or produce telephone numbers to be called, without human intervention, using

a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

227(a)(1).

                                                5
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 6 of 12 PageID 6



        44.     The calls at issue were placed by the Defendant using a “prerecorded voice,” as

specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

        45.     Plaintiff repeatedly requested the Defendant to stop calling her cell phone, however,

the Defendant continued to make calls.

        46.     Defendant has admitted to calling cell phones using an ATDS after that person

asked for the calls to stop.

        47.     Plaintiff’s conversations with the Defendant putting them on notice that they did

not want more phone calls were ignored.

        48.     Defendant has recorded at least one conversation with the Plaintiff.

        49.     Defendant has recorded numerous conversations with the Plaintiff.

        50.     Defendant has made approximately one hundred (100) calls to Plaintiff’s

aforementioned cellular telephone number since in or about March of 2018 which will be

established exactly once Defendant turns over their dialer records.

        51.     Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abusive robocalls.

        52.     Defendant has been sued in federal court where the allegations include: calling an

individual using an ATDS after the individual asked for the calls to stop.

        53.     By effectuating these unlawful phone calls, Defendants have caused Plaintiff the

very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

        54.     Defendant’s aggravating and annoying phone calls trespassed upon and interfered

with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by

intruding upon Plaintiff’s seclusion.

        55.     Defendant’s phone calls harmed Plaintiff by wasting her time.

                                                  6
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 7 of 12 PageID 7



       56.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

telephone service provider.

       57.     Defendant’s corporate policy and procedures are structured as to continue to call

individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

have mistakenly believed it had.

       58.     Defendant’s corporate policy and procedures provided no means for the Plaintiff to

have her aforementioned cellular number removed from the call list.

       59.     Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

voice message to collect debts from individuals such as Plaintiff for its financial benefit.

       60.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this complaint. The Defendant has been sued civilly in Federal Court

152 times since 2014 (According to pacer.gov. in June of 2018).

       61.     In the last 3 years, the Defendant has had 133 complaints reported to the Better

Business Bureau (BBB), of which 125 of those complaints are classified as being related to

“Billing/Collection Issues. (According to bbb.org in June of 2018).

       62.     Plaintiff expressly revoked any consent Defendant may have mistakenly believed

it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

calls. Making money while breaking the law is considered an incentive to continue violating the

TCPA and other state and federal statutes.

                                                  7
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 8 of 12 PageID 8



         63.   Defendant never had the Plaintiff’s expressed consent for placement of telephone

calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

voice.

         64.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

         65.   Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

         66.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                                 COUNT I
                                          (Violation of the TCPA)

         67.   Plaintiff incorporates Paragraphs one (1) through sicty-six (66).

         68.   Defendant willfully violated the TCPA with respect to the Plaintiff each time they

called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-

recorded voice.

         69.   Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialed calls made to Plaintiff’s cellular telephone after Plaintiff revoked her

consent to be called by them using an ATDS or pre-recorded voice.

         70.   Defendant, Allied Interstate, LLC, repeatedly placed non-emergency telephone

calls to the wireless telephone number of Plaintiff using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiff’s prior express consent in violation of federal law,

including 47 U.S.C § 227(b)(1)(A)(iii).

         71.   As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

violation of the TCPA.


                                                  8
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 9 of 12 PageID 9



       72.     Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

Allied Interstate, LLC, from violating the TCPA in the future.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

                                           COUNT II
                                   (Violation of the FDCPA)

       73.     Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

       74.     At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

       75.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by

willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt.

       76.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)

by causing a telephone to ring or engaging any person in telephone conversation repeatedly or

continuously with intent to annoy, abuse, or harass any person at the called number.

       77.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by

using unfair and unconscionable means to collect or attempt to collect any debt.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.

                                          COUNT III
                                   (Violation of the FCCPA)

       78.     Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

                                                 9
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 10 of 12 PageID 10



          79.    At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

          80.    Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of her family with such frequency as can reasonably be expected

to harass the debtor or her family.

          81.    Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of her

family.

          82.    Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt

when Defendant knows that the debt is not legitimate or assert the existence of some legal right

when Defendant knows that right does not exist.

          83.    Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

deem just and proper.

                                           COUNT IV
                        (Invasion of Privacy – Intrusion Upon Seclusion)

          84.    Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

          85.    Defendant through its collection conduct, has repeatedly and intentionally invaded

Plaintiff’s privacy.




                                                   10
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 11 of 12 PageID 11



        86.     All of the calls made to Plaintiff’s cell phone by Defendant and its agents using an

automatic telephone dialing system were made in violation of the TCPA, and were unreasonable

and highly offensive invasions of Plaintiff’s right to privacy.

        87.     Defendant’s persistent autodialed calls to both her cellular phone eliminated

Plaintiff’s right to be left alone.

        88.     Defendant’s autodialed collection calls disrupted Plaintiff’s privacy, disrupted

Plaintiff’s sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during her work, and

continually frustrated and annoyed Plaintiff.

        89.     These persistent autodialed collection calls eliminated the peace and solitude that

the Plaintiff would have otherwise had in Plaintiff’s home and anywhere else Plaintiff went with

her cellular phone.

        90.     By calling her cellular phone, Plaintiff had no escape from these collection calls

either in her home or when she left the home.

        91.     By persistently autodialing Plaintiff’s cellular phone without prior express consent,

Defendant invaded Plaintiff’s right to privacy, as legally protected by the TCPA, and caused

Plaintiff to suffer concrete and particularized harm.

        92.     Defendant’s harassing collection conduct and tactic of repeatedly auto dialing

Plaintiff to both her cellular and home telephone after requests to stop is highly offensive to a

reasonable person.

        93.     Defendant intentionally intruded upon Plaintiff’s solitude and seclusion.

        94.     As a result of Defendant’s action or inaction, Plaintiff has been damaged.




                                                  11
Case 8:18-cv-02193-SDM-CPT Document 1 Filed 09/04/18 Page 12 of 12 PageID 12



       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.



                                             Respectfully submitted,

                                             /s/ Amanda J. Allen, Esq.
                                             Amanda J. Allen, Esquire
                                             Florida Bar No. 0098228
                                             William Peerce Howard, Esquire
                                             Florida Bar No. 0103330
                                             THE CONSUMER PROTECTION FIRM
                                             4030 Henderson Boulevard
                                             Tampa, FL 33629
                                             Telephone: (813) 500-1500
                                             Facsimile: (813) 435-2369
                                             Amanda@TheConsumerProtectionFirm.com
                                             Shenia@TheConsumerProtectionFirm.com
                                             Billy@TheConsumerProtectionFirm.com
                                             Attorney for Plaintiff




                                                12
